






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-0070-CV






In re Brian Lee Pope






ORIGINAL PROCEEDING FROM COMAL COUNTY




M E M O R A N D U M   O P I N I O N


		

		Relator Brian Lee Pope filed a petition for writ of habeas corpus and motion for
emergency stay on February 2, 2007, challenging the district court's January 29, 2007 order
committing him to county jail.  By order dated February 2, 2007, we granted relator's motion for
emergency stay of the order and allowed his release from custody pending our disposition of his
petition for writ of habeas corpus.  See Tex. R. App. P. 52.8(b)(3).  

		By order dated February 12, 2007, the district court vacated its January 29, 2007
Order Holding Respondent in Contempt for Failure to Pay Child Support, Granting Judgment, and
for Commitment to County Jail.  Because the order that is the subject of Pope's petition for writ of
habeas corpus has been vacated, both the emergency stay and his petition are moot.  We lift the
emergency stay and dismiss this petition for writ of habeas corpus.

			

						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Puryear and Waldrop

Filed:   February 21, 2007


